      Case 2:15-cr-00236-JAM Document 223 Filed 04/30/18 Page 1 of 9


1

2                            UNITED STATES DISTRICT COURT

3                           EASTERN DISTRICT OF CALIFORNIA

4

5    UNITED STATES OF AMERICA,                No.    2:15-cr-00236-GEB
6                      Plaintiff,
7           v.                                FINDINGS UNDER § 3C1.1 AND
                                              RULING SUSTAINING THE UNITED
8    NELLI KESOYAN,                           STATES’ OBJECTION TO THE
                                              PRESENTENCE REPORT
9                      Defendant.
10

11                The United States seeks in its sentencing memorandum

12   two    specific     judicial      findings   opined   to   justify      increasing

13   Defendant Nelli Kesoyan’s (“Defendant or Kesoyan”) offense level

14   by    the   two    levels   for    perjury   recommended    by    the    probation

15   officer in the Presentence Report (“PSR”).                 Gov’t Sent. Memo.,

16   ECF   No.   218.      Separately,      the   United   States     objects   to   the

17   probation officer’s decision that an additional two offense level

18   enhancement under USSG § 2J1.2(b)(3), for alteration of essential

19   or especially probative records, does not apply.                  Gov’t’s Formal

20   Objs. to PSR, ECF No. 213.

21                The probation officer recommends increasing Defendant’s

22   offense level by two levels for perjury based on false testimony

23   Defendant gave during trial.           PSR ¶ 29, ECF No. 210.           The United

24   States argues this perjury enhancement applies, and to justify it

25   the United States requests the Court to “expressly find that ‘(1)

26   the defendant gave false testimony, (2) on a material matter, (3)

27   with willful intent.’”            Gov’t Sent. Memo. at 6:6 (quoting United

28   States v. Johnson, 812 F.3d 757, 761 (9th Cir. 2016)).                          The
                                              1
      Case 2:15-cr-00236-JAM Document 223 Filed 04/30/18 Page 2 of 9


1    United States    “requests that the Court make specific findings as

2    to two particular false statements made by Kesoyan:                     (1) she

3    believed Movsesyan lived at Bagdasaryan’s home, and (2) she was

4    coerced into confessing when agents threatened her and yelled at

5    her.”     Gov’t’s Sent. Memo. at 6:8-10. The following findings

6    justify   application     of    a   two       offense   level   enhancement   for

7    obstruction of justice.

8               The   United        States     is     correct   in    its   following

9    statements about the first stated lie:

10              The   first   lie,   that   Kesoyan   believed
                Movsesyan lived at the address, was material
11              because it went directly to an element of the
                conspiracy count, whether Kesoyan joined in
12              the conspiracy knowing of its goals and
                intended to help accomplish them . . . .
13              Kesoyan’s professed lack of knowledge was
                central to her entire defense. To that end,
14              Kesoyan   repeatedly    testified   that   she
                believed Movsesyan lived with Bagdasaryan
15              because that was what she was told by
                Movsesyan, Bagdasaryan, and her husband.
16              See, e.g., Exhibit 1 at 9.     As evidence at
                trial showed, however, Kesoyan was aware that
17              Movsesyan did not live at the address and her
                testimony to the contrary was false.       For
18              example, Kesoyan was captured on recordings
                telling Bagdasaryan to lie to immigration
19              officers, including that Movsesyan lived at
                the home.   Exhibit 3.    As evident from the
20              recordings, Bagdasaryan did not know who
                Movseyan was and could not even identify a
21              photo of him without Kesoyan’s assistance.
                Id. Kesoyan also stated that her use of the
22              false address on the third [Social Security
                Administration (“SSA”)] letter was only a
23              “typo” made when Movsesyan was talking in her
                ear on the phone.    See, e.g., Exhibit 1 at
24              61. Kesoyan . . . recant[ed] this assertion,
                however, when confronted with phone records
25              showing it was false. Id. at 62. Kesoyan’s
                entire defense was founded on her false
26              testimony that she believed Movsesyan lived
                at the address, testimony Kesoyan willfully
27              and intentionally repeated multiple times at
                trial.
28
                                               2
      Case 2:15-cr-00236-JAM Document 223 Filed 04/30/18 Page 3 of 9


1    Gov’t’s Sent. Memo. at 6:11-25.            When Kesoyan testified falsely

2    about   believing    that    Movsesyan     lived     with    Bagdasaryan,     this

3    testimony    constituted      “‘material’         statement[s,     meaning]    ‘if

4    believed, [it] would tend to influence or affect the issue under

5    determination.’”      United States v. Manning, 704 F.3d 584, 586

6    (9th Cir. 2012).     Specifically, it went directly to an element of

7    the conspiracy count concerning whether Kesoyan joined in the

8    conspiracy knowing of its goals and intended to help accomplish

9    them, and Kesoyan’s professed lack of knowledge was central to

10   her entire defense.         Further, Kesoyan’s demeanor while giving

11   this testimony evinced that the testimony was “willfully” given.

12   Kesoyan   “consciously      act[ed]    with   the     purpose     of   obstructing

13   justice” when she gave the testimony.               United States v. Lofton,

14   905 F.2d 1315, 1317 (9th Cir. 1990).

15               The   United    States    is   also    correct   in    its   following

16   statements about the second lie; specifically, that Kesoyan lied

17   when she testified she was coerced into confessing, and that this

18   lie “was material because it was another attempt to directly

19   negate Kesoyan’s criminal culpability.”               Id. at 7:1–2.        As the

20   United States correctly asserts:
21               [Internal Revenue Service] Special Agent
                 Christopher    Fitzpatrick    testified    that
22               Kesoyan was interviewed about her conduct on
                 November 20 and 21, 2014.         Kesoyan was
23               advised that the interviews were voluntary
                 and signed a Garrity waiver form each day
24               stating she understood that the interview was
                 voluntary, that she was willing to make a
25               statement, and that no pressure or coercion
                 of any kind had been used against her.
26               Exhibit 8.    During the interviews, Kesoyan
                 admitted . . . that the address she used on
27               the third SSA letter was false, that she knew
                 Movsesyan did not live in Sacramento when she
28               typed   the    letter,   that    she    induced
                                        3
      Case 2:15-cr-00236-JAM Document 223 Filed 04/30/18 Page 4 of 9


1                   Bagdasaryan to sign the false notarized
                    affidavit, and that she knew the false
2                   documents would be used for immigration
                    purposes.     Exhibit   7.     Special Agent
3                   Fitzpatrick testified that no one threatened
                    Kesoyan or her family and that no one yelled
4                   at Kesoyan during the interview.

5                   Kesoyan testified, however, that during the
                    interviews agents threatened her and her
6                   family and yelled at her.     Exhibit 1 at 23,
                    110–11.    Kesoyan stated that she only told
7                   the agents that she had engaged in fraud
                    because of this intimidation. Id. at 24–25,
8                   112. Kesoyan’s demeanor in testifying about
                    her interview was not credible. She feigned
9                   . . . [being] emotional[ly] upset.         When
                    asked questions on cross-examination, Kesoyan
10                  accused   counsel     for the   government   of
                    threatening her “just like FBI agents did.”
11                  Exhibit 1 at 68. . . . In returning a
                    conviction, the jury [evidently] agreed that
12                  Kesoyan’s testimony was false.          Kesoyan
                    willfully and intentionally lied about her
13                  confession    in    order  to   undermine   the
                    government’s     evidence   and   support   her
14                  perjured defense.

15
     Gov’t’s Sent. Memo. at 7:2-20.              When Kesoyan testified falsely
16
     that she confessed only because she was threatened and yelled at
17
     during her interview, this testimony was material because if it
18
     was believed, it would tend to influence or affect the issues
19
     under   determination;     specifically      whether    Kesoyan’s    statements
20
     given to the federal law enforcement officers were untrue because
21
     they    were    the   product    of   federal   law    enforcement    officers’
22
     pressure or coercion.           Further, Kesoyan’s demeanor while giving
23
     this testimony evinced that the testimony was “willfully” given
24
     with intent of obstructing justice.
25
                    The United States also formally objects to the refusal
26
     of the probation officer to include in the PSR a two offense
27
     level    enhancement     under    United    States     Sentencing    Guidelines
28
                                             4
      Case 2:15-cr-00236-JAM Document 223 Filed 04/30/18 Page 5 of 9


1    (“USSG”) § 2J1.2(b)(3).        Gov’t’s Formal Objs. to PSR at 1:18–21.

2    USSG     § 2J1.2(b)(3)   states     in   pertinent   part:     “If   the    offense

3    . . . (B) involved the selection of any essential or especially

4    probative record, document, or tangible object, to destroy or

5    alter . . . , increase by 2 levels.”

6                 The United States made an informal objection to the

7    probation     officer    charged     with    drafting   the     PSR,       but   the

8    probation officer declined to include the two-level enhancement.

9    In   a   letter   responding   to    the    United   States’    objections       and

10   attached to the final PSR, the probation officer explains:

11                Application of USSG § 2J1.2(b)(3)(B) and (C):
                  You state a two-level increase is warranted
12                for the offense involving essential or
                  especially   probative   records    and   was
13                otherwise extensive in planning, preparation,
                  or scope pursuant to USSG §2J1.2(b)(3)(B) and
14                (C). You provide specific details regarding
                  offense conduct that you feels (sic) supports
15                this enhancement.
16                Probation       Officer’s         Response:       A
                  representative     with     the    United    States
17                Sentencing Commission (hereafter referred to
                  as The Commission) was contacted regarding
18                specific offense characteristics that support
                  the application of the two-level increase
19                under USSG §2J1.2(b)(3).           The Commission
                  cited the origin of USSG § 2J1.2(b)(3) is
20                contained    in    Amendment      647    and    was
                  repromelgated    in    Amendment     653   of   the
21                Amendments to the 2003 Guideline Manual.
                  Congress   gave     The    Commission     emergency
22                amendment authority to promulgate amendments
                  addressing, among other things, obstruction
23                of   justice    offenses     that   involved    the
                  destruction     of    evidence.      Specifically,
24                section 805(a) of the Sarbanes-Oxley Act of
                  2002 directed The Commission “. . . to ensure
25                that the base offense level and existing
                  enhancements in USSG § 2J1.2 are sufficient
26                to deter and punish obstruction of justice
                  offenses generally, and specifically are
27                adequate in cases involving the destruction,
                  alteration, or fabrication of a large amount
28                of evidence, a large number of participants,
                                           5
      Case 2:15-cr-00236-JAM Document 223 Filed 04/30/18 Page 6 of 9


1              the   selection    of   evidence    that   is
               particularly probative or essential to the
2              investigation, more than minimal planning
               . . . .” Section 1104(b) of the [Sarbanes-
3              Oxley Act] further directs The Commission to
               ensure the “guideline offense levels and
4              enhancements for an obstruction of justice
               offense are adequate in cases where documents
5              or other physical evidence are actually
               destroyed or fabricated.”” (sic)    The facts
6              of Mrs. Kesoyan’s case do not fit the
               criteria   or  intent   of  The   Commissions
7              application of this Guideline enhancement.
               There is no evidence provided that indicates
8              Mrs. Kesoyan obstructed justice by destroying
               or fabricating evidence; therefore, the two-
9              level increase pursuant to USSG §2J1.2(b)(3)
               was not applied.
10

11   Response to Objections at 2, ECF No. 210-1.

12             The United States argues:

13             Kesoyan not only used her position in the
               Social Security Administration [“SSA”] to
14             create three false letters for Movsesyan, but
               she altered his address in SSA electronic
15             database records in order to provide support
               for the false statements she made in the
16             letters.   Before   Kesoyan   changed   these
               records, they showed that Movsesyan had lived
17             in Burbank for years. As testimony at trial
               indicated, the address records in the SSA
18             database are important to ensuring the SSA
               has accurate information in order to provide
19             services and prevent fraud. These records
               were especially probative of Movsesyan’s
20             actual address. They were altered to support
               the false addresses used in the SSA letters
21             and to deceive anyone who may later look at
               SSA records to determine whether Movsesyan
22             actually lived at the address listed. Indeed,
               changing Movsesyan’s address in the SSA
23             records was essential to covering up the
               false address Kesoyan listed in the SSA
24             letters. As Kesoyan admitted at trial, she
               knew investigators would look into the
25             address listed on the letters. In order for
               Kesoyan to conceal the false nature of the
26             address, it was essential for her to change
               the SSA records themselves. . . .
27
               . . . .
28
                                         6
      Case 2:15-cr-00236-JAM Document 223 Filed 04/30/18 Page 7 of 9


1              The U.S. Probation office did not apply a
               two-level increase under § 2J1.2(b)(3) in the
2              revised PSR. In response to the government’s
               request to include the specific offense
3              characteristic, the officer stated it did not
               apply because that there was no evidence
4              Kesoyan obstructed justice by destroying or
               fabricating evidence. ECF No. 210-1 at 2.
5              This is incorrect.

6              Obstruction of justice need not necessarily
               involve   obstructing     a    currently    pending
7              criminal investigation. As the Sentencing
               Commission notes, “[n]umerous offenses of
8              varying      seriousness        may     constitute
               obstruction       of       justice”       including
9              “obstructing    a    civil     or   administrative
               proceeding.” § 2J1.2 App. N. Background.
10             Kesoyan was convicted of conspiring to
               obstruct    or    impede     a    pending    agency
11             proceeding.     This     substantive       criminal
               offense, 18 U.S.C. § 1505, is located in the
12             Obstruction of Justice chapter (Chapter 73)
               of   the    U.S.     Code.     An   administrative
13             investigation is a proceeding within the
               meaning of this obstruction offense. [United
14             States] v. Price, 951 F.2d 1028, 1031 (9th
               Cir. 1991). Specifically, naturalization and
15             immigration investigations are proceedings
               that fall within the statute. See United
16             States v. Jacques Dressange, Inc., 4 Fed.
               App’x 59 (2d Cir. 2001); United States. v.
17             Naeem, 389 Fed App’x 245 (4th Cir. 2010).

18             Here,   Kesoyan    actively     obstructed   an
               administrative proceeding of the [United
19             States Citizenship and Immigration Services
               (“USCIS”)]   through    the    fabrication   of
20             documents and otherwise. She not only told
               individuals to lie to immigration officers,
21             but she also produced false documentary
               evidence that would interfere with USCIS
22             officers’   attempts   to   determine   whether
               Movsesyan lived in Sacramento.
23

24   Gov’t’s Formal Objs. to PSR at 2:28–5:11.

25             Defendant responds:

26             Contrary to the Government’s position, the
               Probation Officer’s determination under USSG
27             § 2J1.2 is correct. The SSA letters, the
               address listed in the SSA’s database, and the
28             single   affidavit   are   quite   far   from
                                         7
      Case 2:15-cr-00236-JAM Document 223 Filed 04/30/18 Page 8 of 9


1                “essential or especially probative” documents
                 regarding that specific information. Perhaps
2                the creation of a dispositive document such
                 as a counterfeit driver’s license, a passport
3                or other government-issued identification
                 might amount to “essential or especially
4                probative” records under § 2J1.2. However,
                 SSA correspondence and database address of
5                record   established   only   that  Movsesyan
                 provided that address to SSA, and can hardly
6                be deemed particularly probative or essential
                 to establishing his residence.
7

8    Reply at 3:1–10, ECF No. 215.

9                Defendant’s argument is unpersuasive.                       In United States

10   v. Mathews, 874 F.3d 698, 705 (11th Cir. 2017), the Eleventh

11   Circuit     held      “that        [an]     increase           was     proper     under     §

12   2J1.2(b)(3)(B)” where a Veterans Affairs (“VA”) hospital nurse

13   falsified        entries    in     a    patient’s      medical         chart    that     were

14   essential “to the VA's investigation into the Patient’s quality

15   of care and would furnish, establish, or contribute toward proof

16   (i.e., be especially probative) on that point.”                             Id.     It was

17   “clear that [the nurse] ‘selected’ the Patient's medical record

18   as the target of his alterations in order to derail and deceive

19   that investigation.”             Id.      The facts of the instant case are

20   similar    in     important      respects.        It      is    clear    that     Defendant

21   selected the SSA record, which would contribute toward proof of

22   Movsesyan’s address, as her target in order to mislead USCIS

23   investigators, and Defendant knew that record would be especially

24   probative    in     the    USCIS       proceeding    and       Defendant       changed    the

25   address     so    that     the   change      would     be       consistent      with     what

26   Movsesyan    told     an   USCIS       official     was    his       northern   California

27   address.     The United States has shown that the obstruction-of-

28   justice rationale applicable to USSG § 2J1.2(b)(3) is not as
                                                 8
      Case 2:15-cr-00236-JAM Document 223 Filed 04/30/18 Page 9 of 9


1    narrow       as    the    probation         officer      determined       when       declining        to

2    apply the two-level enhancement.

3                      Since    a     two-level        enhancement        is       appropriate       under

4    USSG     §    2J1.2(b)(3)(B)            (“[T]he        offense       .    .     .    involved        the

5    selection of an[] essential or especially probative record . . .

6    to . . . alter . . . .”), the United States’ additional arguments

7    in support of the applicability of USSG § 2J1.2(b)(3)(C) (“[T]he

8    offense       . . .        was      . . .     extensive         in   scope,         planning,         or

9    preparation . . . .”) need not be addressed.

10                     The     probation        officer       calculated        in       the   PSR    that

11   Defendant’s total offense level is 23, PSR ¶ 34, and Defendant’s

12   criminal          history      is    category       I,    PSR    ¶ 43,         resulting        in    an

13   advisory guideline imprisonment range of 45–57 months, PSR ¶ 71.

14   However,          sustaining         the     United      States’         objection        increases

15   Defendant’s         offense         level    to    25,    and    the      advisory        guideline

16   imprisonment range to 57–71 months.

17                     A copy of these findings and ruling shall be appended

18   “to any copy of the presentence report made available to the

19   Bureau of Prisons.”                 Fed. R. Crim. P. 32(i)(3)(C).

20   Dated:       April 27, 2018
21

22

23

24

25

26
27

28
                                                        9
